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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION


KLAUSNER TECHNOLOGIES, INC.,
a New York corporation,

                     Plaintiff,

vs.                                             CASE NO. 6:11-cv-00581-LED


PHONE.COM, INC., a Delaware                     JURY TRIAL DEMANDED
corporation,

                     Defendant.

               AGREED ORDER OF DISMISSAL WITH PREJUDICE

       Before the Court is the Agreed Motion to Dismiss with Prejudice brought by Plaintiff

Klausner Technologies, Inc. (“Klausner Technologies”) and Defendant Phone.com, Inc.

(“Phone.com”). Klausner Technologies and Phone.com have entered into a Settlement

Agreement (the “Settlement Agreement”) and agreed to entry of this Agreed Order of

Dismissal with Prejudice. After considering this Motion, the Court finds it is well-taken and

should be approved. Accordingly, the Agreed Motion to Dismiss with Prejudice is hereby

GRANTED in its entirety.

       Accordingly, IT IS ORDERED that the parties hereby agree and stipulate on the

terms and conditions of the Settlement Agreement as follows:

        1.       This Court has personal jurisdiction over the parties and retains jurisdiction

                 to enforce this Agreed Order of Dismissal with Prejudice and to enforce the

                 terms of the Settlement Agreement.

        2.       Venue is proper in this District.
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     3.      All claims and counterclaims in this action as between Klausner

             Technologies and Phone.com are dismissed with prejudice.

     4.      Each party shall bear its own respective costs and attorney’s fees in

             connection with this case.



          So ORDERED and SIGNED this 23rd day of May, 2012.




                              __________________________________
                              LEONARD DAVIS
                              UNITED STATES DISTRICT JUDGE




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